             Case 3:20-cv-08412-WHO Document 1 Filed 11/30/20 Page 1 of 10



 1   DANIEL MALAKAUSKAS, Cal. Bar. No.: 265903
     MALAKAUSKAS LAW, APC
 2
     7345 South Durango Drive
 3   Suite B-107-240
     Las Vegas, NV 89113
 4   Tel: 866-790-2242 / Fax: 888-802-2440
     daniel@malakauskas.com
 5
 6   Attorney for Plaintiff: Meryl Pomponio

 7
                                  UNITED STATES DISTRICT COURT
 8
 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                         OAKLAND DIVISION
11   MERYL POMPONIO,                                      Case No.:
12
                           Plaintiff,                 COMPLAINT BY MERYL POMPONIO
13                                                    AGAINST GROCERY OUTLET INC., et al.,
      v.                                              FOR DAMAGES AND INJUNCTIVE RELIEF
14                                                    RESULTING FROM VIOLATIONS OF 1)
15   GROCERY OUTLET INC., as an entity and TITLE III OF THE AMERICANS WITH
     doing business as "Grocery Outlet Bargain Market DISABILITIES ACT OF 1990; 2) THE UNRUH
16   Store #0003", HAGSTORM PROPERTIES, CIVIL RIGHTS ACT; and 3) THE
     LLC, and DOES 1-50, Inclusive,                   CALIFORNIA DISABLED PERSONS ACT.
17
18                         Defendants.                    [42 U.S.C. §§ 12101-12213; Cal. Civ. Code §§ 51,
                                                          52, 54, 54.1, 54.2 and 54.3.]
19
20
21
            Comes now the Plaintiff, MERYL POMPONIO, (hereafter, “Mrs. Pomponio” or “Plaintiff”)
22
     through her Attorney, DANIEL MALAKAUSKAS, 7345 South Durango Drive, Suite B-107-240, Las
23
24   Vegas, NV 89113; Telephone: (866) 790-2242; Facsimile: (888) 802-2440; who, having been denied

25   her civil rights, hereby respectfully alleges, avers, and complains as follows:
26
27               THIS COURT CAN GRANT JUSTICE TO A DISABLED INDIVIDUAL

28


            COMPLAINT BY POMPONIO AGAINST GROCERY OUTLET INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                       -1-
              Case 3:20-cv-08412-WHO Document 1 Filed 11/30/20 Page 2 of 10



 1            1.   Mrs. Pomponio was disabled by her extreme medical condition: 1) Paraneoplastic
 2
     Syndrome. Due to Mrs. Pomponio’s medical condition, Mrs. Pomponio is unable to walk and is
 3
     confined to using a mobility device to complete her day to day activities.
 4
              2.   On three separate occasions in 2019, Mrs. Pomponio was denied the full and equal access
 5
 6   to a public accommodation located at 2900 Broadway, Oakland, CA 94611.

 7            3.   Mrs. Pomponio now asks that this Court stand up for her rights under the Americans
 8
     with Disabilities Act (“ADA”), the Unruh Civil Rights Act (“UCRA”) and the California Disabled
 9
     Persons Act (“CDPA”).
10
11
      THE UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF CALIFORNIA,
12      OAKLAND DIVISION, HAS JURISDICTION AND IS THE PROPER VENUE FOR
                           PLAINTIFF TO SEEK JUSTICE
13
14            4.   The United States District Court has original federal question jurisdiction over this action

15   pursuant to 28 U.S.C. § 1331 and § 1343(a)(3) and (a)(4), for violations of the Americans with
16   Disabilities Act, 42 U.S.C. §§ 12101, et seq. This Court has supplemental jurisdiction over all state
17
     claims, including, but not limited to, claims under the Unruh Civil Rights Act, Cal. Civ. Code § 51, et
18
     seq., and/or the California Disabled Persons Act, Cal. Civ. Code §§ 54-55.3, pursuant to 28 U.S.C. §
19
20   1367 as such acts not only expressly incorporate the Americans with Disabilities Act, but such state

21   law claims also arose from the same nucleus of operative facts or transactions.
22            5.   Venue in this Court is proper under 28 U.S.C. § 1391(b)(2) as the claims alleged herein
23
     arose in the Northern District, specifically at the real property located at 2900 Broadway, Oakland, CA
24
     94611.
25
26            6.   The Oakland Division of the Northern District of California, is the proper division

27   because all claims herein arose at the real property located at 2900 Broadway, Oakland, CA 94611.
28


           COMPLAINT BY POMPONIO AGAINST GROCERY OUTLET INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                      -2-
             Case 3:20-cv-08412-WHO Document 1 Filed 11/30/20 Page 3 of 10



 1                                THE VICTIM AND THOSE RESPONSIBLE
 2
            7.     Mrs. Pomponio was disabled by her extreme medical condition: 1) Paraneoplastic
 3
     Syndrome. Due to Mrs. Pomponio’s medical condition, Mrs. Pomponio is unable to walk and is
 4
     confined to using a mobility device to complete her day to day activities. Mrs. Pomponio is therefore
 5
 6   a “person with a disability” and a “physically disabled person” and has a “disability” or “medical

 7   condition” pursuant to the rules and regulations of the ADA, specifically 42 U.S.C § 12102 and Cal.
 8
     Civ. Code §§ 51 and 54.
 9
            8.     Defendants, GROCERY OUTLET INC., and Does 1-50 (hereafter, collectively or
10
     individually, “Tenant ”), operate as a business establishment, hold themselves out to the public, and do
11
12   business as “Grocery Outlet Bargain Market Store #0003” at 2900 Broadway, Oakland, CA 94611, and

13   have substantial control over the interior and exterior of the building, the parking lot, and all spaces
14
     adjacent to such building.
15
            9.     Defendants, HAGSTORM PROPERTIES, LLC, and Does 1-50 (hereafter, collectively
16
     or individually, “Landlord”, in their commercial real estate investment, owner, or landlord capacity),
17
18   own, operate, manage, and have substantial control over the real property, including the interior and

19   exterior of the building, parking lot and all spaces adjacent to the buildings located at 2900 Broadway,
20
     Oakland, CA 94611.
21
            10.    Defendants, Does 26-50, are individuals, businesses, organizations, or entities which
22
     entered into a contract with Defendants, Tenant, Landlord, and/or Does 1-50, as property managers or
23
24   franchisees for the real property and adjacent parking lot, and as such have substantial control over the

25   real property located at 2900 Broadway, Oakland, CA 94611.
26
            11.    The true names and capacities of the Defendants named herein as Does 1-50, inclusive,
27
     whether individual, corporate, partnership, association, or otherwise, are unknown to Plaintiff who
28


           COMPLAINT BY POMPONIO AGAINST GROCERY OUTLET INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                      -3-
             Case 3:20-cv-08412-WHO Document 1 Filed 11/30/20 Page 4 of 10



 1   therefore sues these Defendants by such fictitious names. Plaintiff requests leave of court to amend this
 2
     complaint to allege their true names and capacities at such times as they are ascertained.
 3
            12.     Plaintiff is informed and believes and thereon alleges that each of the Defendants,
 4
     including Does 1-50, caused and are responsible for the below described unlawful conduct and
 5
 6   resulting injuries by, among other things, personally participating in the unlawful conduct or acting

 7   jointly or conspiring with others who did so; by authorizing, acquiescing in or setting in motion
 8
     policies, plans or actions that led to the unlawful conduct; by failing to take action to prevent the
 9
     unlawful conduct; by failing and refusing with deliberate indifference to Plaintiff’s rights to equal
10
     access to public spaces; and by ratifying the unlawful conduct that occurred by agents, and officers or
11
12   entities under their direction and control.

13
14                   MRS. POMPONIO WAS DENIED EQUAL ACCESS TO A
               PUBLIC ACCOMMODATION AND NOW FIGHTS FOR ALL DISABLED
15
            13.     Mrs. Pomponio was disabled by her extreme medical condition: 1) Paraneoplastic
16
17   Syndrome. Due to Mrs. Pomponio’s medical condition, Mrs. Pomponio is unable to walk and is

18   confined to using a mobility device to complete her day to day. Mrs. Pomponio is therefore a “person
19   with a disability” and a “disabled person” and has a “disability” or “medical condition” pursuant to
20
     federal law, rules and regulations, specifically 42 U.S.C § 12102, and 28 C.F.R. § 36.104.
21
            14.     On three separate occasions in 2019, Mrs. Pomponio desired to go to and use the
22
23   services, and/or buy products at “Grocery Outlet Bargain Market Store #0003” which is located at 2900

24   Broadway, Oakland, CA 94611.
25          15.     While in the parking lot adjacent to, surrounding, or while inside the business “Grocery
26
     Outlet Bargain Market Store #0003”, Mrs. Pomponio personally encountered barriers that interfered
27
     with her ability to use and enjoy the goods, services, privileges and accommodations offered by the
28


           COMPLAINT BY POMPONIO AGAINST GROCERY OUTLET INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                      -4-
              Case 3:20-cv-08412-WHO Document 1 Filed 11/30/20 Page 5 of 10



 1   facilities. Specifically, while visiting the business establishment, Mrs. Pomponio had difficulty as the
 2
     alleged accessible parking stalls and access aisles had improper slopes making them more difficult for
 3
     Mrs. Pomponio to use in her wheeled mobility device.
 4
             16.    Despite Mrs. Pomponio’s wish to patronize the businesses in the future, the above-
 5
 6   mentioned barriers constitute deterrents to access to the business, rendering the business’ goods,

 7   services, facilities, privileges, advantages, and accommodations unavailable to physically disabled
 8
     patrons such as herself.
 9
             17.    Mrs. Pomponio alleges, on information and belief, that Defendants knew that such
10
     barriers existed and that Defendants’ failure to remove the barriers was intentional as the particular
11
12   barriers mentioned above were intuitive and obvious. Additionally, Defendants exercised control and

13   dominion over the condition of the real property and building and had the financial resources to remove
14
     such barriers. Furthermore, Mrs. Pomponio alleges, on information and belief, that such modifications
15
     were readily achievable as removal of the above barriers could have been achieved without much
16
     difficulty or expense.
17
18           18.    Mrs. Pomponio brings this lawsuit to encourage Defendants to ensure their property is

19   accessible to all.
20
21                                         FIRST CLAIM
                                 VIOLATION OF TITLE III OF THE ADA
22                                      (As to all Defendants)
23
             19.    Plaintiff hereby incorporates and realleges, as if fully set forth herein, each and every
24
     allegation contained in all prior and subsequent paragraphs.
25
26           20.    The parking lot and building at the real property known as 2900 Broadway, Oakland,

27   CA 94611 is owned, controlled, operated, leased, and managed by Defendants: Tenant, Landlord, Does
28   1-50, or their agents. The business “Grocery Outlet Bargain Market Store #0003”, including their


            COMPLAINT BY POMPONIO AGAINST GROCERY OUTLET INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                       -5-
               Case 3:20-cv-08412-WHO Document 1 Filed 11/30/20 Page 6 of 10



 1   parking lot, are open to the general public and as such is a “public accommodation” under 42 U.S.C. §
 2
     12181 and 28 C.F.R. § 36.104.
 3
             21.   Pursuant to 42 U.S.C. § 12182(a), by owning, leasing, or operating the public
 4
     accommodation known as “Grocery Outlet Bargain Market Store #0003”, Defendants are prohibited
 5
 6   from discriminating against Plaintiff by denying her, on the basis of her disability, the full and equal

 7   enjoyment of the goods, services, facilities, privileges, advantages, or accommodations offered by the
 8
     facilities.
 9
             22.   In order to avoid discriminating against a disabled individual pursuant to 28 C.F.R. §
10
     36.101 and § 36.102, Defendants must ensure that such public accommodation is designed, constructed,
11
12   and altered in compliance with the accessibility standards established by 28 C.F.R. § 36.101 et seq.,

13   and have proper policies, practices, and procedures to ensure that individuals with disabilities are
14
     afforded equal access to the full and equal enjoyment of the goods, services, facilities, privileges,
15
     advantages, or accommodations offered by the public accommodation. 42 U.S.C. §§ 12181(9),
16
     12182(b)(2)(A)(iv) and (v), 12183(a)(1) and (2).
17
18           23.   Mrs. Pomponio was disabled by her extreme medical condition: 1) Paraneoplastic

19   Syndrome. Due to Mrs. Pomponio’s medical condition, Mrs. Pomponio is unable to walk and is
20
     confined to using a mobility device to complete her day to day. Mrs. Pomponio is therefore a “person
21
     with a disability” and a “disabled person” and has a “disability” or “medical condition” pursuant to
22
     federal law, rules and regulations, specifically 42 U.S.C § 12102, and 28 C.F.R. § 36.104. While at
23
24   the interior, exterior, parking lot, or adjacent spaces, of the business known as “Grocery Outlet Bargain

25   Market Store #0003”, Plaintiff personally encountered a number of barriers that interfered with her
26
     ability, to use and enjoy the goods, services, privileges and accommodations offered at the facility.
27
28


            COMPLAINT BY POMPONIO AGAINST GROCERY OUTLET INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                       -6-
             Case 3:20-cv-08412-WHO Document 1 Filed 11/30/20 Page 7 of 10



 1          24.      Specifically, Defendants failed to ensure that such real property was equally accessible
 2
     to individuals with disabilities and medical conditions by having the following barriers at the real
 3
     property:
 4
                  a. The blank spaces of the unauthorized vehicle parking signage are not filled in with the
 5
 6                   appropriate information in violation of 2013 CBC 11B-502.8 and 2016 CBC 11B-

 7                   502.8.;
 8
                  b. The alleged accessible parking space(s) and access aisle(s)’ slope(s) exceed two
 9
                     percent (2%) in violation of 1991 ADAAG 4.6.3, 2010 ADAS 502.4 Exception, 2013
10
                     CBC 11B-502.4 Exception and 2016 CBC 11B-502.4 Exception;
11
12                c. One or more of the alleged accessible parking spaces fail to have “VAN

13                   ACCESSIBLE” identification signage in violation of 1991 ADAAG 4.6.1, 2010
14
                     ADAS 502.6, 2013 CBC 11B502.6, 2016 CBC 11B-502.6;
15
                  d. One or more of the alleged access aisles do not extend the full length of the parking
16
                     spaces they serve in violation of 2010 ADAS 502.3.2, 2013 CBC 11B-502.3.2 and
17
18                   2016 CBC 11B-502.3.2;

19                e. One or more of the alleged accessible parking spaces have widths that are less than
20
                     one-hundred-eight inches (108”) in violation of 2013 CBC 11B-502.2 Exception and
21
                     2016 CBC 11B-502.2 Exception;
22
                  f. The cross slope of the accessible route from the public sidewalk exceeds two point-
23
24                   zero-eight percent (2.08%) in violation of 1991 ADAAG 4.3.7, 2010 ADAS 403.3,

25                   2013 CBC 11B-403.3and 2016 CBC 11B-403.3.
26
27
28


           COMPLAINT BY POMPONIO AGAINST GROCERY OUTLET INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                       -7-
             Case 3:20-cv-08412-WHO Document 1 Filed 11/30/20 Page 8 of 10



 1          25.    As a direct and proximate cause of Defendants’ conduct, Plaintiff, on the basis of her
 2
     disabilities, was denied the opportunity to participate in or benefit from a good, service, privilege,
 3
     individuals in violation of 42 U.S.C. § 12181.
 4
            26.    Plaintiff seeks injunctive relief to prohibit Defendants’ acts and omissions as complained
 5
 6   of herein which have the effect of wrongfully discriminating against Plaintiff and other members of the

 7   public who are physically disabled from full and equal access to these public facilities. Specifically,
 8
     Plaintiff seeks injunctive relief ensuring that Defendants modify their real property to ensure that
 9
     disabled persons are not discriminated against in receiving equal access to goods, services, and facilities
10
     as other more able-bodied persons.
11
12
                                         SECOND CLAIM
13                          VIOLATIONS OF CALIFORNIA CIVIL CODE § 51
14                                     (As to all Defendants)

15          27.    Plaintiff hereby incorporates and realleges, as if fully set forth herein, each and every
16   allegation contained in all prior and subsequent paragraphs.
17
            28.    Any violation of the ADA 42 U.S.C. §§ 12101-12213 also constitutes a violation of Cal.
18
     Civ. Code § 51(f) and § 52(a), thus independently justifying an award of damages and injunctive relief
19
20   pursuant to California law.

21          29.    On the basis of her disabilities, Plaintiff was denied the opportunity to participate in or
22   benefit from a good, service, privilege, advantage or accommodation in a manner equal to that afforded
23
     to other non-disabled individuals which resulted in Plaintiff’s difficulty, discomfort, or embarrassment.
24
     Therefore, pursuant to Cal. Civ. Code § 55.56(a) through (c), Plaintiff is entitled to attorneys’ fees,
25
26   costs, and damages of no less than four-thousand U.S. dollars (4,000 USD) for each and every violation.

27
28


           COMPLAINT BY POMPONIO AGAINST GROCERY OUTLET INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                       -8-
             Case 3:20-cv-08412-WHO Document 1 Filed 11/30/20 Page 9 of 10



 1                                       THIRD CLAIM
                            VIOLATIONS OF CALIFORNIA CIVIL CODE § 54
 2
                                       (As to all Defendants)
 3
            30.    Plaintiff hereby incorporates and realleges, as if fully set forth herein, each and every
 4
     allegation contained in all prior and subsequent paragraphs.
 5
 6          31.    Any violation of the ADA 42 U.S.C. §§ 12101-12213 also constitutes a violation of Cal.

 7   Civ. Code § 54.1(d) and § 54.3(a), thus independently justifying an award of damages and injunctive
 8   relief pursuant to California law.
 9
            32.    On the basis of her disabilities, Plaintiff was denied the opportunity to participate in or
10
     benefit from a good, service, privilege, advantage or accommodation in a manner equal to that afforded
11
12   to other non-disabled individuals, which resulted in Plaintiff’s difficulty, discomfort or embarrassment.

13   Therefore, pursuant to Cal. Civ. Code § 55.56(a) through (c), Plaintiff is entitled to attorneys’ fees,
14   costs, and damages on no less than one-thousand U.S. dollars (1,000 USD) for each and every violation.
15
16                                                  PRAYER
17
     WHEREFORE, Plaintiff prays the following:
18
19          1.     For injunctive relief pursuant to 28 C.F.R. § 36.501 directing Defendants to modify their

20   facilities and policies as required by law to comply with ADA regulations, including the ADAAG
21   where required; institute policy to enable Plaintiff to use goods and services offered to the non-disabled
22
     public; provide adequate access to all citizens, including persons with disabilities; issue a permanent
23
     injunction directing Defendants to maintain their facilities usable by Plaintiff and similarly situated
24
25   person with disabilities in compliance with federal regulations, and which provide full and equal access,

26   as required by law;
27
28


           COMPLAINT BY POMPONIO AGAINST GROCERY OUTLET INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                       -9-
             Case 3:20-cv-08412-WHO Document 1 Filed 11/30/20 Page 10 of 10



 1          2.     Retain jurisdiction over Defendants until such time as the Court is satisfied that
 2
     Defendants’ unlawful policies, practices, acts and omissions, and maintenance of inaccessible public
 3
     facilities as complained of herein no longer occur and will not recur;
 4
            3.     Award Plaintiff all appropriate damages, including, but not limited to, either statutory
 5
 6   damages of no less than four-thousand U.S. dollars (4,000 USD) for each and every violation of Cal.

 7   Civ. Code § 51, or no less than one-thousand U.S. dollars (1,000 USD) for each and every violation of
 8
     Cal. Civ. Code § 54, with either Cal. Civ. Code § 51 or § 54 being elected prior to, or at, trial, but not
 9
     both, and general damages in an amount within the jurisdiction of the Court, according to proof;
10
            4.     Award Plaintiff all litigation expenses and costs of this proceeding, and all reasonable
11
12   attorneys’ fees as provided by law, including but not limited to, 42 U.S.C. § 12205, Cal. Civ. Code §§

13   52 and 54.3; and
14
            5.     Grant such other and further relief as this Court may deem just and proper.
15
16
17
18   Dated: November 23rd, 2020

19                                                                /s/ Daniel Malakauskas
                                                                  By: DANIEL MALAKAUSKAS, of,
20
                                                                  MALAKAUSKAS LAW, APC,
21                                                                Attorney for PLAINTIFF

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           COMPLAINT BY POMPONIO AGAINST GROCERY OUTLET INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                      - 10 -
